United States District Court

PROB 12 Case 2: 02- --Cr 00619- F|\/|C Document 58 Filed 03/13/09 Page 1 of 1 T¢€\geb£ #0'%€?9'¢' FMC_
for

(Rev. 11/04)
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/`“"\\`é/§DQ!H| .~\ `_ \
CENTRAL DISTRICT OF CALIFORNIA // \COURT ,

D/ mg l
U.s.A. vs. JoHN EDWARDS /C_D tNo. R-CRl)Q -099@§1: c
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iniin gin n 7 n j 7 VWPet1t10n Lm)gggn and Supervlsed Release (Amendment) 1 WVWW;MLJH k !,

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Y
COMES NOW LORETTA S. MARTIN, CHIEF PROBATION OFFICER OF THE COURT, presenting

official report upon the conduct and attitude of JOHN EDWARDS who Was placed on supervision by the
Honorable EDWARD RAFEEDIE sitting in the Court at Los Angeles, C_A, on the M day of December, 2002, who fixed

the period of supervision at three years, and imposed the general terms and conditions theretofore adopted by the Court and

  

 
    
 

also imposed special terms and conditions as noted on the attached Judgment and Commitment Order(s).

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Amend to correct allegation(s):

$WH_avingMy,thie(MM commit another Federal, state, orlo,cal crime, on December 26, 2006,

 

John Edwards entered Mervyn’s Department Store located at 245 E. Magnolia Boulevard, Burbank, California , and
committed a violation of Section 666 of the Califomia Penal Code: Petty Theft.

PRAYING THAT THE COURT WILL ORDER this amendment filed.

 

 

ORDER OF CO I declare under penalty of perjury that the foregoing
and/or attached is true and correct to the best of my
Cfonsi red and ordered this [3/ day knowledge
and ordered filed
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cas '
%%W ml'/ J:/W’ ; § §ILLW. §oFFETT`;JR.
United States District JudgeV U. S. Probation Offlcer
FLORENCE-MARIE COOPER

Place: Woodland Hills, California

 

